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                     United States District Court
                       District of Massachusetts
                                        )
United States of America,               )
                                        )
         v.                             )
                                        )
Malik Parsons,                          )    Criminal Action No.
                                        )    21-10343-NMG
                 Defendant.             )
                                        )



                          MEMORANDUM & ORDER

GORTON, J.


    Defendant Malik Parsons (“Parsons” or “defendant”), has

been charged in a four-count indictment with conspiracy to

distribute and possess with intent to distribute 40 grams or

more of fentanyl and 500 grams or more of cocaine, in violation

of 21 U.S.C. § 846 (Count 1), possession with intent to

distribute 40 grams or more of fentanyl and 500 grams or more of

cocaine, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(B)(ii) and (B)(vi), as well as aiding and abetting

(Count 2), possession of a firearm in furtherance of drug

trafficking activity, in violation of 18 U.S.C. § 924(c) (Count

3) and possession of a firearm with an obliterated serial

number, in violation of 18 U.S.C. § 922(k) (Count 4).




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    Parsons has filed a motion to dismiss Count 3, possession

of a firearm in furtherance of drug trafficking activity, in

violation of 18 U.S.C. § 924(c).        He asserts that the underlying

statute contravenes the Second Amendment right to bear arms as

applied to the charged conduct.     For the reasons that follow,

the motion will be denied.



I. Motion to Dismiss

    The facts of the case have been thoroughly rehearsed.             See,

e.g., Docket No. 105, at 2-7.     As relevant here, the government

alleges that defendant, along with co-defendant Malik Bean-

Bousseau (“Bean-Bousseau”), trafficked illicit narcotics out of

an apartment in Mansfield, Massachusetts.       In August, 2021,

investigators conducted a search of the Mansfield apartment

which revealed large quantities of cocaine, cocaine base and two

semiautomatic handguns, one of which had an obliterated serial

number.

    The recovered firearms form the basis of the conduct

charged in Count 3.    Defendant contends that he is charged under

a theory that the guns were stored at the apartment for “self

defense to avoid a drug robbery.”       He asserts that, as applied

to his alleged conduct, 18 U.S.C. § 924(c) contravenes his right

of armed self-defense under the Second Amendment.



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    The United States Supreme Court affirmed that the Second

Amendment encompasses an individual right to bear arms for the

purpose of self-defense in District of Columbia v. Heller. 554

U.S. 570 (2008).   The Court recognized, however, that “the right

secured by the Second Amendment is not unlimited” and that the

Second Amendment does not imply a “right to keep and carry any

weapon whatsoever in any manner whatsoever and for whatever

purpose.” Heller, 554 U.S. at 626.

    Following Heller, the Courts of Appeals uniformly adopted

means-ends tests that often resulted in the application of an

intermediate form of scrutiny. See, e.g., Worman v. Healey, 922

F.3d 26 (1st Cir. 2019).    Two years ago, in New York State Rifle

& Pistol Ass’n v. Bruen, the Supreme Court cast aside means-ends

scrutiny in favor of a text and history test. 597 U.S. 1 (2022).

That approach requires courts first to assess whether the

challenged law is covered by the Second Amendment’s text and if

so, whether that law is “consistent with this Nation's

historical tradition of firearm regulation.” Id. at 33; see also

Ocean State Tactical, LLC v. Rhode Island, 95 F.4th 38, 43 (1st

Cir. 2024).   The historical analysis need not discover a

    historical twin...[but courts] must instead employ
    analogical reasoning to determine whether historical
    analogues are relevantly similar.

Ocean State Tactical, LLC, 95 F.4th at 44 (quoting Bruen, 597

U.S. at 28, 30) (internal quotations omitted).

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    Bruen’s analogical reasoning test has begotten a litany of

challenges to federal criminal laws involving firearms.         See,

e.g., United States v. Florentino, 2023 WL 7036314, at * 2 (D.

Mass. Oct. 26, 2023).   Some have prevailed.      See, e.g., United

States v. Bullock, 2023 WL 4232309 (S.D. Miss. Jun. 28, 2023).

Courts have, however, uniformly rejected challenges to 18 U.S.C.

§ 924(c). See, e.g., United States v. Garrett, 650 F.Supp.3d

638, 642 (N.D. Ill. 2023) (“Fewer courts have examined the

constitutionality, post-Bruen, of § 924(c)(1)(A)...but those

that have done so have upheld the statute.”).       This Court will

do the same.

    Heller made clear that the core Second Amendment right

protects “bearing arms for a lawful purpose.” Heller, 554 U.S.

at 620 (internal quotations omitted).      When evaluating a Second

Amendment challenge, the First Circuit Court of Appeals (“First

Circuit”) has emphasized that the core questions a court must

answer are “how and why the regulations burden a law-abiding

citizen's right to armed self-defense.” Ocean State Tactical,

LLC, 95 F.4th at 44 (quoting Bruen, 597 U.S. at 29) (emphases in

original).

    To be found guilty of the crime proscribed by 18 U.S.C.

§ 924(c), an individual must possess a firearm in manner that

“advances or promotes the drug crime.” United States v. Ramirez-

Frechel, 23 F.4th 69, 74 (1st Cir. 2022) (quoting United States

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v. Pena, 586 F.3d 105, 112-13 (1st Cir. 2009).        It follows that

for the government to prove that Parsons violated § 924(c), it

must demonstrate that he possessed a firearm to promote illicit

activity.   He claims that the charged conduct encompasses self-

defense against robbery but allegations that a firearm was

possessed for the indisputably unlawful purpose of defending a

stash of narcotics and ill-gotten proceeds vitiates any

constitutionally cognizable assertion of “self-defense.”         The

same logic bolsters the criminal law doctrine that

    the right of homicidal self-defense is granted only to
    those free from fault in the difficulty; it is denied
    to slayers who incite the fatal attack, encourage the
    fatal quarrel or otherwise promote the necessitous
    occasion for taking life.

United States v. Peterson, 483 F.2d 1222, 1231 (D.C. Cir. 1973).

    The Bruen decision similarly lends no credence to

defendant’s constitutional challenge.      Its discussion of Rex v.

Sir John Knight, 90 Eng. Rep. 330 (K.B. 1686), clarifies that

there is a history of prohibitions against carrying arms to the

terror of the public with ill intent.      Employing firearms, even

defensively, to further a criminal drug conspiracy fits within

that tradition of proscribing the ill-intended use of arms.

    Furthermore, Justice Kavanaugh, joined by Chief Justice

Roberts, emphasized in his concurrence that nothing in Bruen

“should be taken to cast doubt on longstanding prohibitions on

the possession of firearms by felons.”      Bruen, 591 U.S. at 81

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(Kavanaugh, J., concurring) (citing McDonald v. Chicago, 561

U.S. 742, 786 (2010) (plurality op.).       Justice Kavanaugh’s

concurrence, while dicta, reflects the overwhelming consensus of

the courts that have resolved challenges to 18 U.S.C. § 924(c)

since Bruen.   It strains credulity to assert that the Framers

sought to protect the bearing of arms for the purposes of

promoting criminal conduct, even if the arms in question are

deployed defensively.     The motion will be denied.




                             ORDER
    For the foregoing reasons, the motion of defendant, Malik

Parsons, to dismiss Count 3 of the indictment (Docket No. 137)

is DENIED.



So ordered.



                                        _/s/ Nathaniel M. Gorton_
                                        Nathaniel M. Gorton
                                        United States District Judge
Dated:   April 16, 2024




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